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     Agency Services, LLC; P.C. Richard & Son Long Island Corporation; MARTA
16   Cooperative of America, Inc.; ABC Appliance Inc.; Tech Data Corp. and Tech Data
     Product Management, Inc.; CompuCom Systems, Inc.; NECO Alliance LLC; and
17   MetroPCS Wireless, Inc.

18                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
19                                 SAN FRANCISCO DIVISION

20    In re TFT-LCD (FLAT PANEL) ANTITRUST              Master File No. MDL No. 1827
      LITIGATION
21    ______________________________________            Individual Case Nos.: 3:11-cv-2591-SI; 3:11-
                                                        cv-3856-SI; 3:11-cv-4119-SI; 3:11-cv-5765-
22    This Document Relates To:
                                                        SI; 3:11-cv-6241-SI; 3:11-cv-1426-SI; 3:11-
                                                        cv-3763-SI; 3:11-cv-5625-SI; 3:11-cv-00829-
23    Office Depot, Inc. v. AU Optronics Corp., et
                                                        SI;
      al., 3:11-cv-2591-SI
24
                                                        DECLARATION OF STUART H.
      Schultze Agency Services, LLC, on behalf of
25                                                      SINGER IN SUPPORT OF PLAINTIFFS’
      Tweeter Opco, LLC and Tweeter Newco, LLC
                                                        OPPOSTION TO DEFENDANTS’
26    v. AU Optronics Corp., et al., 3:11-cv-3856-SI
                                                        MOTION FOR SUMMARY JUDGMENT
27    P.C. Richard & Son Long Island Corp., et al. v.
      AU Optronics Corp., et al., 3:11-cv-4119-SI
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     DECL. OF STUART H. SINGER                                                         MDL No. 1827
      Case 3:07-md-01827-SI Document 9048-1 Filed 05/29/14 Page 2 of 3



 1    Tech Data Corp., et al. v. AU Optronics Corp.,
      et al., 3:11-cv-5765-SI
 2
      CompuCom Systems, Inc. v. AU Optronics
 3    Corp., et al., 3:11-cv-6241-SI
 4
      NECO Alliance LLC v. AU Optronics Corp., et
 5    al., 3:11-cv-1426-SI

 6    Interbond Corp. of America v. AU Optronics
      Corp., et al., 3:11-cv-3763-SI
 7

 8    Alfred H. Siegel, As Trustee of the Circuit City
      Stores, Inc. Liquidating Trust v. AU Optronics
 9    Corp., et al., 3:11-cv-5625-SI

10    MetroPCS Wireless, Inc. v. AU Optronics Corp.,
      et al., 3:11-cv-00829-SI
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     DECL. OF STUART H. SINGER                      -2-                  MDL No 1827
      Case 3:07-md-01827-SI Document 9048-1 Filed 05/29/14 Page 3 of 3



 1          I, STUART H. SINGER, declare as follows:

 2          1.      I am a partner at the law firm of Boies, Schiller & Flexner LLP, liaison counsel for

 3   Direct Action Plaintiffs (“DAPs”) including Alfred H. Siegel, As Trustee of the Circuit City

 4   Stores, Inc. Liquidating Trust and MetroPCS Wireless, Inc., and counsel for Office Depot, Inc.

 5   (“Office Depot”), Interbond Corporation of America (“BrandsMart”), P.C. Richard & Son Long

 6   Island Corporation (“P.C. Richard”), NECO Alliance LLC (“NECO”), CompuCom Systems, Inc.

 7   (“CompuCom”), and Schultze Agency Services, LLC (“Tweeter”), and co-counsel for Tech Data

 8   Corp. (“Tech Data”) (collectively, “Plaintiffs”), and I am licensed to practice law in the State of

 9   Florida and admitted to practice pro hac vice before this Court. Except for those matters stated on

10   information and belief, which I believe to be true, I have personal knowledge of the facts recited in

11   this declaration and, if called upon to do so, I would competently testify under oath thereto.

12          2.      Attached hereto as Exhibit A is a true and correct copy of the June 13, 2013 Expert

13   Report of B. Douglas Bernheim, PhD, Concerning Office Depot, Inc.

14          3.       Attached hereto as Exhibit B is a true and correct copy of the October 29, 2013

15   Expert Report of Professor Dennis W. Carlton.

16          4.      Attached hereto as Exhibit C is a true and correct copy of the October 31, 2013

17   Expert Report of James A. Levinsohn and Edward A. Snyder with Errata.

18          I declare under penalty of perjury that the foregoing is true and correct.

19          Executed this 29th day of April, 2014, at Ft. Lauderdale, Florida.

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                                                           /s/ Stuart H. Singer
21                                                         Stuart H. Singer
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     DECL. OF STUART H. SINGER                      -3-                                     MDL No. 1827
